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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA

CALEB REESE,

JOSEPH GRANICH,

FIREARMS POLICY COALITION, INC,

THE SECOND AMENDMENT FOUNDATION, :
and LOUISIANA SHOOTING ASSOCIATION, :

Plaintiffs,
Civil Action No. -
v.

THE BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES;

REGINA LOMBARDO, in her official capacity
as Acting Director of the Bureau of Alcohol,
Tobacco, Firearms and Explosives; and
WILLIAM P. BARR, in his official capacity as
Attorney General of the United States,

Defendants.

 

 

COMPLAINT FOR DECLARATORY JUDGMENT
AND INJUNCTIVE RELIEF

COME NOW ithe Plaintiffs Caleb Reese, Joseph Granich, Firearms Policy
Coalition, Inc. The Second Amendment Foundation, and Louisiana Shooting

Association, by and through counsel, and complain of Defendants as follows:

INTRODUCTION
1, The Second Amendment protects “the right of the people to keep and bear Arms.”
And the Constitution ensures that “the right of law-abiding, responsible citizens
to use arms in defense of hearth and home” is “elevate{d] above all

[governmental] interests” in restricting the right. District of Columbia v. Heller,
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554 U.S 570, 635 (2008).

2. Plaintiffs include law-abiding, responsible adult citizens who wish to purchase
handguns-—“the quintessential self-defense weapon,” and “the most popular
weapon chosen by Americans for self-defense,” id. at 629-—-and handgun
ammunition from Federal Firearms Licensees (“FFL”) and lawful ammunition
sellers for all lawful purposes, including “defense of hearth and home.”

3. But defendants’ laws, including 18 U.S.C. §§ 922(b)()' and 922(c)(1), 27 C.F.R.
8§ 478.99(b)(1), 478.124(a), and 478.96(b), the related regulations, policies,
practices, customs designed to implement the same, and Defendants’ continuing
enforcement of them (collectively referred to herein as the “Handgun Ban”),
prevent law-abiding, responsible adult citizens under age twenty-one—including
Plaintiffs Reese and Granich, and the similarly situated members and supporters
of Plaintiffs Firearms Policy Coalition, Inc., (“FPC”’}, The Second Amendment
Foundation (“SAF”), and Louisiana Shooting Association (“LSA”)—from doing
so, in violation of the Second and Fifth Amendments to the United States
Constitution.

4, Plaintiffs acknowledge the Fifth Circuit’s decision in Nat? Rifle Ass'n, Inc. v.
Bureau of Alcohol, Tobacco, Firearms, and Explosives, 714 F.3d 334 (Sth Cir,
2013)). Plaintiffs present this case as a good faith attempt to change the law as

required to conform to the constitutional standards set forth in the Constitution’s

 

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“It shall be unlawful for any licensed importer, licensed manufacturer, licensed dealer, or
licensed collector to sell or deliver—(1) any firearm or ammunition to any individual who
the licensee knows or has reasonable cause to believe is less than eighteen years of age, and,
if the firearm, or ammunition is other than a shotgun or rifle, or ammunition for a shotgun
or rifle, to any individual who the licensee knows or has reasonable cause to believe is less
than twenty-one years of age.” 18 U.S.C. § 922(b)(1).

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text, and as the Supreme Court has elucidated in Heller.

5. The Government’s Handgun Ban, and the Defendants’ actual and threatened
enforcement of the same, should and must--under the text of the Constitution
itself, as well as our Nation’s history and tradition, and the Supreme Court’s
precedents—-be declared unconstitutional and enjoined.

PARTIES

6. Plaintiff Caleb Reese is a natural person over the age of eighteen and under the
age of twenty-one. He is a citizen of Vermilion Parish, Louisiana and the United
States, and is a member of Plaintiffs Firearms Policy Coalition, The Second
Amendment Foundation, and Louisiana Shooting Association. Plaintiff Reese
brings this case on behalf of himself, and as a representative of a class of
similarly situated individuals—1.e., law-abiding, adult U.S. citizens under twenty-
one years of age who are denied the right to lawfully purchase a handgun and/or
handgun ammunition from lawful retailers under the Handgun Ban.

7. Plaintiff Joseph Granich is a natural person over the age of eighteen and under the
age of twenty-one. He is a citizen of Sulphur, Louisiana and the United States,
and is a member of Plaintiffs Firearms Policy Coalition, The Second Amendment
Foundation, and Louisiana Shooting Association. Plaintiff Granich brings this
case on behalf of himself, and as a representative of a class of similarly situated
individuals-—i.e., law-abiding, adult U.S. citizens under twenty-one years of age
who are denied the right to lawfully purchase a handgun and/or handgun
ammunition trom lawful retailers under the Handgun Ban.

8. Plaintiff Firearms Policy Coalition, Inc. (*FPC”’) is a nonprofit organization

incorporated under the laws of Delaware with a place of business in Sacramento,
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California. The purposes of FPC include defending and promoting the People’s
rights—including the right to keep and bear arms—~advancing individual liberty,
and restoring freedom. FPC serves its members and the public through legislative
advocacy, grassroots advocacy, litigation and legal efforts, research, education,
outreach, and other programs. FPC has members and supporters who are both
over and under the age of twenty-one, as well as members and supporters who are
Federal Firearms Licensee (FFL) firearm retailers and other lawful ammunition
retailers, shooting ranges, trainers, and others within the firearms and Second
Amendment ecosystem. FPC has been adversely and directly harmed in having
expended and diverted organizational resources to review and analyze the
Handgun Ban, and communicate with its members and the public about the
Handgun Ban, FPC has members and supporters throughout the United States,
some of whom reside in Vermilion Parish and Caicasieu Parish, Louisiana, and
other portions of western Louisiana. FPC brings this action on behalf of itself, as
well as its members, supporters who possess all the indicia of membership, and
similarly situated members of the public who would purchase handguns and
handgun ammunition from lawful retailers, and FFL handgun retailers who would
sell handguns and handgun ammunition to adults under the age of twenty-one, but
are prohibited from doing so by the Handgun Ban enforced by Defendants,
including through criminal penalties and loss of liberty and property, and the
revocation of FFL and business licenses.

9. Plaintiff The Second Amendment Foundation (“SAF”) is a nonprofit educational
foundation incorporated under the laws of Washington with its principal place of

business in Bellevue, Washington. SAF seeks to preserve the effectiveness of the

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Second Amendment through education, research, publishing, and legal action
programs focused on the constitutional right to keep and bear arms and the
consequences of gun control. SAF has members and supporters both over and
under the age of twenty-one. SAF has members and supporters throughout the
United States, some of whom reside in Vermilion Parish and Calcasieu Parish,
Louisiana, and other portions of western Louisiana. SAF brings this action on
behalf of itself, as well as its members, supporters who possess all the indicia of
membership, and similarly situated members of the public who would purchase
handguns and handgun ammunition from lawful retailers, and FFL handgun
retailers who would sell handguns and handgun ammunition to adults under the
age of twenty-one, but are prohibited from doing so by the Handgun Ban enforced
by Defendants, including through criminal penalties and loss of liberty and
property, and the revocation of FFL and business licenses.

10, Plaintiff Louisiana Shooting Association (“LSA”) is a nonprofit membership
organization founded in 1966, with a place of business in Slidell, Louisiana. The
purposes of LSA include the promotion and protection of firearms owners’
constitutionally guaranteed right to own, bear, and use firearms for the protection
of home and family, sport hunting, target shooting, and any other lawful purpose.
LSA is affiliated with the Civilian Marksmanship Program, National Rifle
Association, and the National Board for the Promotion of Rifle Practice. LSA
provides support, services, competition sponsorship, instruction, and other
promotion and facilitation of the shooting sports. LSA encourages and promotes
training in hunter safety, marksmanship, and junior shooting, including by adults

under the age of twenty-one. LSA has members and supporters throughout

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Louisiana, some of whom reside in Vermilion Parish and Calcasieu Parish,
Louisiana, and other portions of western Louisiana. LSA has members and
supporters both over and under the age of twenty-one. LSA brings this action on
behalf of itself, as well as its members, supporters who possess all the indicia of
membership, and similarly situated members of the public who would purchase
handguns and handgun ammunition from lawful retailers, and FFL handgun
retailers who would sell handguns and handgun ammunition to adults under the
age of twenty-one, but are prohibited from doing so by the Handgun Ban enforced
by Defendants, including through criminal penalties and loss of liberty and
property, and the revocation of FFL and business licenses.

11. The Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) is an agency
of the United States under its Department of Justice (“DOJ”). ATF is responsible
for the investigation and prevention of federal offenses involving the illegal use,
manufacture, and possession of firearms, including violations and alleged
violations of the Handgun Ban. ATF is also responsible for, infer alia, regulating
and licensing the sale, possession, transfer, and transportation of firearms and
ammunition in interstate commerce. It is authorized to implement regulations for
purposes of enforcing the Handgun Ban.

12. Defendant Regina Lombardo is the Acting Director of the ATF. As Acting
Director of ATF, Defendant Lombardo is responsible for the creation,
implementation, execution, and administration of the laws, regulations, customs,
practices, and policies of the United States, particularly those related to firearms.
She is presently enforcing and has been enforcing at all times relevant to the

Complaint, the laws, regulations, customs, practices, and policies underlying the

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Handgun Ban. She is sued in her official capacity.

13. Defendant William P. Barr is the Attorney General of the United States
(“Attorney General”) and is responsible for executing and administering the laws,
regulations, customs, practices, and policies of the United States. Defendant Barr
is the head of the DOJ. In that capacity, he is presently enforcing and has been
enforcing at all times relevant to the Complaint, the laws, regulations, customs,
practices, and policies underlying the Handgun Ban. As Attorney General,
Defendant Barr is ultimately responsible for supervising the functions and actions
of the DOJ, including the ATF, which is an arm of the DOJ. He is sued in his
official capacity.

JURISDICTION AND VENUE

14, This action seeks relief pursuant to 28 U.S.C §§ 2201, 2202, and 2412.
Jurisdiction is thus founded on 28 U.S.C. § 1331, in that this action arises under
the Constitution and laws of the United States.

15, The federal Defendants, including ATF, are amenable to suit for relief other than
money damages pursuant to 5 U.S.C. § 702.

16, The Court has authority to award costs and attorney fees under 28 U.S.C. § 2412.

17, Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (e).

STATEMENT OF FACTS

18. Plaintiff Reese has never been charged with nor convicted of any misdemeanor or
felony offense, and is otherwise eligible to purchase and possess firearms,
including handguns, under all applicable laws. Plaintiff Reese does not own a
handgun but intends and desires to purchase a handgun and handgun ammunition

for lawful purposes, including self-defense.
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19. Plaintiff Reese desires to purchase a handgun and handgun ammunition for self-
defense and other lawful purposes, including proficiency training and target
shooting, in the exercise of his fundamental right to keep and bear arms under the
Second Amendment. But as a result of Defendants’ active enforcement of the
Handgun Ban, Plaintiff Reese is prevented from doing so.

20. Plaintiff Reese is acquainted with the proper and safe handling, use, and storage
of handguns and handgun ammunition, and he is otherwise entirely eligible to do
so under all applicable state and federal laws.

21. The Handgun Ban prevents Plaintiff Reese from purchasing handguns of the
makes and models of his choice, with full manufacturer warranty and support,
from the lawful retailers of his choice, in violation of his constitutionally
enumerated rights.

22. But for the Handgun Ban, Plaintiff Reese would purchase handguns and handgun
ammunition from the lawful retailers of his choice to exercise his right to keep
and bear arms for self-defense and other lawful purposes.

23. Plaintiff Granich has never been charged with nor convicted of any misdemeanor
or felony offense, and is otherwise eligible to purchase and possess firearms,
including handguns, under all applicable laws. Plaintiff Granich does not own a
handgun but intends and desires to purchase a handgun and handgun ammunition
for lawful purposes, including self-defense.

24. Plaintiff Granich desires fo purchase a handgun and handgun ammunition for self-
defense and other lawful purposes, including proficiency training and target
shooting, in the exercise of his fundamental right to keep and bear arms under the

Second Amendment. But as a result of Defendants’ active enforcement of the

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Handgun Ban, Plaintiff Granich is prevented from doing so.

25. The Handgun Ban prevents Plaintiff Granich from purchasing handguns of the
makes and models of his choice, with full manufacturer warranty and support,
from the lawful retailers of his choice, in violation of his constitutionally
enumerated rights.

26, Plaintiff Granich is acquainted with the proper and safe handling, use, and storage
of handguns and handgun ammunition, and he is otherwise entirely eligible to do
so under all applicable state and federal laws.

27. But for the Handgun Ban, Plaintiff Granich would purchase handguns and
handgun ammunition from the lawful retailers of his choice to exercise his right
to keep and bear arms for self-defense and other lawful purposes.

28. Eighteen is the age of majority in 47 states, including Louisiana.

29. At eighteen years old, all law-abiding U.S. citizens have the right to: (i) vote; (ii)
fully exercise the freedoms of speech, assembly, and petitioning of the
government under the First Amendment to the United States Constitution; (iit) the
full panoply of liberty protections in the Fourth, Fifth, and Sixth Amendments;
(iv) enter into contracts; ; (v) fully exercise the right to keep and bear arms under
the Second Amendment to the United States Constitution; and (vi) serve in the
United States Military as well as the militias and guards of the several states.
They are also held responsible as adults for crimes they commit, and even being
held fully accountable before the law for criminal matters to the point of being
punished by execution.

30, Indeed, all male citizens over cighteen years of age are designated members of

the militia pursuant to 10 U.S.C. § 246(a), and may be selected and inducted for
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training and service into the United States armed forces under 50 U.S.C. §
3803(a). See Heller, 554 U.S. at 624 (“The traditional militia was formed from a
pool of men bringing arms ‘in common use at the time’ for lawful purposes like
self-defense”) (quoting United States v. Miller, 307 U.S. 174, 170 (1939)).

31. Many states have parallel statutes for their state militaries. In Louisiana, for
example, the current militia ages are 17 to 64. LA.R.S §29:3(A). As such, adults
like Plaintiffs and Plaintiffs members and supporters are eligible to serve and die
for their state and country, and many in fact do.

32. In Louisiana, “[ajll able-bodied persons between the ages of seventeen and sixty-
four residing in this state and who are not exempt by the laws of the United States
of America or of this state constitute the militia of Louisiana and are subject to
military duty.” LA.R.S. § 29:3(A). The State’s “militia is divided into two classes,
the organized militia and the unorganized militia.” LA.R.S. § 29:3(B). “The
organized militia consists of the national guard, the Louisiana State Guard and
other organized military forces which may be authorized by law.” LA.R.S. §
29:3(B)(1), and “[t]he unorganized militia consists of all other persons subject to
military duty.”

33. Thus, these adults, like Plaintiffs Reese and Granich in Louisiana, must be armed
and ready to be “called into the service of the state or of the United States of
America.” LA.R.S. § 29:6.

34, Other states have similar statutes. In California, for example, the “militia of the
State” consists of both the organized and unorganized militia. The State’s
organized militia encompasses the National Guard, State Military Reserve and

Naval Militia, Cal. Mil. and Vet. Code § 120. The unorganized militia “consist of
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35.

36.

37,

all persons liable to service in the militia, but not members of the National Guard,
the State Military Reserve, or the Naval Militia.” Jd. § 121. Accordingly, both the
State’s organized and unorganized militia consist of “all able-bodied male
citizens ... who are between the ages of eighteen and forty-five ....” fd. § 122
(emphasis added).
THE HANDGUN BAN

18 U.S.C. § 922(b)(1) declares: “It shall be unlawful for any licensed importer,
licensed manufacturer, licensed dealer, or licensed collector to sell or deliver...
any firearm or ammunition to any individual who the licensee knows or has
reasonable cause to believe is less than eighteen years of age, and, if the firearm,
or ammunition is other than a shotgun or rifle, or ammunition for a shotgun or
rifle, to any individual who the licensee knows or has reasonable cause to believe
is less than twenty-one years of age.” All violators “shall be fined under this title,
imprisoned not more than five years, or both.” 18 U.S.C. §924(a)(1)(D).
As reflected in Defendant ATF’s Minimum Age for Gun Sales and Transfers
publication:

Handguns: Under federal law, FFLs may not sell, deliver, or

otherwise transfer any firearm or ammunition to any individual

who the licensee knows or has reasonable cause to believe is under

the age of 21.

As further reflected on Defendant ATF’s Q&A portion of its website:

May an individual between the ages of 18 and 21 years of age
acquire a handgun from an unlicensed individual who is also a

 

Available online at: https://www.alfgov/resource-center/docs/guns-min-
agepdt/download.

Available online at https://www.atf. gov/questions-and-answers/qa/may-
individual-between-ages- | 8-and-2 |-years-age-acquire-handgun-unlicensed.

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resident of that same State?

An individual between 18 and 21 years of age may acquire-a
handgun from an unlicensed individual who resides in the same
State, provided the person acquiring the handgun is not otherwise
prohibited from receiving or possessing firearms under Federal law.
A Federal firearms licensee may not, however, sell or deliver a

firearm other than a shotgun or rifle to a person the licensee knows
or has reasonable cause to believe is under 21 years of age.

There may be State or local laws or regulations that govern this
type of transaction. Contact the office of your State Attorney
General for information on any such requirements.

38. 18 U.S.C. § 922(c) provides that ‘a licensed importer, licensed manufacturer, or
licensed dealer may sell a firearm to a person who does not appear in person at
the licensee’s business premises ... only if” the person signs a sworn statement
attesting “that, in the case of any firearm other than a shotgun or a rifle, I am
twenty-one years or more of age.”

39, 27 CF.R. § 478.99(b)() similarly declares: “A licensed importer, licensed
manufacturer, licensed dealer, or licensed collector shall not sell or deliver (1)
any firearm or ammunition .. . if the firearm, or ammunition, is other than a
shotgun or rifle, or ammunition for a shotgun or rifle, to any individual who the
importer, manufacturer, dealer, or collector knows or has reasonable cause to
believe is less than 21 years of age.”

40. Under 18 U.S.C. § 922(a)(5), it is illegal “for any person [other than a licensed
dealer] to transfer, sell, trade, give, transport, or deliver any firearm to any person
... who the transferor knows or has reasonable cause to believe does not reside in
... the State in which the transferor resides.”

4], Thus, the Handgun Ban categorically bans any adult under the age of twenty-one

from purchasing a handgun and handgun ammunition from lawful retailers.
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THE HANDGUN BAN IS UNCONSTETUTIONAL

42. The Second Amendment guarantees the individual right “to keep and bear arms.”
See also Heller, 554 U.S. at 595.

43. This is especially true when it comes to handguns, which Heller explicitly
recognized as “the quintessential self-defense weapon.” /d, at 629.

44, The fundamental right to keep and bear arms protected by the Second
Amendment secures the right to purchase handguns and handgun ammunition for
self-defense and other lawful purposes. These protections extend in full to all law-
abiding, responsible adults aged eighteen and older.

45, The Handgun Ban impermissibly infringes upon the right to keep and bear arms
of all law-abiding individuals aged 18 to 20, as well as the concomitant rights of
all FFLs and entities who would otherwise be able to lawfully engage in the sale
of handguns to such individuals but for the ban.

46. Heller demonstrated—through its analysis of the Second Amendment’s text,
supported and informed by our Nation’s history and tradition-—that severe
restrictions on the possession of handguns for self-defense must be held
categorically unconstitutional, rather than subject such regulations to interest
balancing.

47. The analysis must be “guided by the principle that ‘[t]he Constitution was written
to be understood by the voters; its words and phrases were used in their normal
and ordinary as distinguished from technical meaning.’ Heller, 554 U.S. at 576
(quoting United States v. Sprague, 282 U.S. 716, 731 (4931)). We look to “the
historical background of the Second Amendment” because “it has always been

widely understood that the Second Amendment, like the First and Fourth

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Amendments, codified a pre-existing right.” /d. at 592.

48, American history and tradition confirm that all law-abiding adults, including
those under the age of twenty-one, were understood to have full Second
Amendment rights in the founding era.

49. Indeed, over 250 colonial and founding-era militia statutes throughout the
seventeenth and eighteenth centuries mandated that persons aged eighteen to
twenty acquire and keep arms in order to serve in the militia and otherwise
protect their communities. See generally David Kopel & Joseph Greenlee, The
Second Amendment Rights of Young Adults, 43 8. ILL. U. LJ. 495 (2019)
(providing over 200 militia statutes).

50. Many statutes unrelated to militia service also required adults under the age of
twenty-one to keep and carry arms. Jed.

51. ‘In contrast, no colonial or founding era law restricted the right of law-abiding
adults under the age of twenty-one to acquire or possess arms.

52. Only months after the Second Amendment was ratified, Congress took steps to
“provide for organizing, arming, and disciplining, the Militia” (U.S. Const. art. 1,
§ 8, cl. 16), by enacting the Militia Act of 1792, requiring that every citizen of
each respective state, “who is or shall be of the age of eighteen years, and under
the age of forty-five years ... shall severally and respectively be enrolled in the
militia[.]”

53. In 1790, Secretary of War Henry Knox submitted a militia plan to Congress
stating that “all men of the legal military age should be armed,” and that “{t}he
period of life in which military service shall be required of [citizens] [was] to

commence at eighteen.” 1 ANNALS OF CONG. app. 2141, 2145-2146.
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54, Representative Jackson agreed “that from eighteen to twenty-one was found to be
the best age to make soldiers of.” /bid. (emphasis added). Eighteen was the age
that George Washington recommended for militia enrollment. 26 WRITINGS OF
GEORGE WASHINGTON 389 (John C. Fitzpartick ed., 1938).

55. When the Second Amendment was ratified, the colonial and founding-era laws
and customs provide irrefutable evidence that adults under the age of twenty-one
had the same Second Amendment rights as adults over twenty-one years of age.

56. Heller may not have “clarif[ied] the entire field” of Second Amendment analysis,
554 U.S. at 634, but it surely foreclosed any argument that the Second
Amendment does not protect individuals who, at the time of ratification, were
required by both state and federal law to keep and bear arms. See /d. at 625
(concluding with “our adoption of the original understanding of the Second
Amendment”).

57, While the right protected by the Second Amendment is by no means, and could
not be, limited to militia service, “the threat that the new Federal Government
would destroy the citizens’ militia by taking away their arms was the reason that
the right ... was codified in the written Constitution.” /d, at 559.

58. Still today, able-bodied male citizens at least 17 years of age (and under 45 years
of age) are designated members of the U.S. militia pursuant to federal statute, 10
U.S.C. § 246(a), and may be selected and inducted for training and service into
the United States armed forces, 50 U.S.C. § 3803(a).

59. Thus, there is and never has been any constitutionally grounded basis for
restricting the rights of law-abiding adults over eighteen yet under twenty-one

years of age who are eligible to serve in the military and to die for their country.

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60, It is clear that the text of the Constitution itself, as it may be informed by our
Nation’s history and tradition and the Supreme Court’s precedents, protects the
right of adults eighteen years of age, but under age twenty-one-—-like Plaintiffs
Reese and Granich, Plaintiffs FPC, SAF, and LSA’s members and supporters, and
others like them—~to acquire, keep, and bear handguns for lawful purposes
including but not limited to self-defense, sport, and hunting, just like law-abiding
adults who are aged twenty-one and older. And this right further guarantees for
them all, at a minimum, the ability to buy handguns and handgun ammunition,
lawfully seli and transfer them, and transport, carry, and practice safety and
proficiency with them.

61. The handgun is a ubiquitous armament in American society and is owned by
millions of law-abiding citizens. Handguns are neither “unusual” nor “dangerous”
as those terms are used in Heller.

62. The Second Amendment right fully extends to handguns, such as those that
Plaintiffs and other similarly situated adults would lawfully, iter alia, purchase,
possess, keep, bear, and practice proficiency with but for the Handgun Ban and
Defendants’ enforcement of it.

63. The Handgun Ban is flatly unconstitutional under the Second Amendment and
Heller.

COUNT I
(U.S Const., AMEND. II)

71. The foregoing paragraphs are incorporated herein as if set forth in full.
72. 18 U.S.C. §§ 922(b)(1) and 922(c)(1), 27 C.F.R. §§$ 478.99(b)0), 478.124(a),

478.96(b), and the related regulations, policies, practices, and customs designed

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to implement the same, and the Defendants’ enforcement of them, all of which
underlie the Handgun Ban, prohibit federally licensed firearms dealers from
selling handguns and handgun ammunition to the large class of law-abiding,
responsible, and otherwise-cligible adults aged eighteen to twenty (Le., adults
under the age of twenty-one).

73. AS a direct consequence of the Handgun Ban, individuals in this class are unable
to exercise their right to purchase handguns from FFLs, and handgun ammunition
from lawful retailers, for self-defense and all lawful purposes protected under the
Second Amendment.

74. Consequently, the Handgun Ban unconstitutionally infringes and imposes an
impermissible burden upon the Second Amendment rights of Plaintiffs and all
those similarly situated.

75. Absent a declaration that the Handgun Ban unconstitutionally precludes Plaintiffs
and those similarly situated from exercising their enumerated rights, Defendants
will continue to enforce the same, contrary to both public policy and the
Constitution of the United States, causing irreparable damage to Plaintiffs and
those similarly situated.

76, Plaintiffs FPC, SAF, and LSA bring this case as public interest organizations on
behalf of their adult members and supporters who are, because they are under the
age if twenty-one, prohibited from lawfully purchasing handguns from FFLs as
well as handgun ammunition from lawful retailers under the Handgun Ban, and
their FFL members and supporters who are prohibited from conducting such sales
under the Handgun Ban. All such individuals and entities would otherwise have

standing to sue in their own right based on the Handgun Ban against handgun

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sales to these adults. The resulting injuries and interests at stake are germane to
the core purposes of each entity and organization, and neither the claims asserted
nor the relief requested require participation of all the affected individual
members, licensees, or business entities.

77. As to all claims made in a representative/associational capacity herein, there are
common questions of law and fact that substantially injure and adversely affect
the rights, duties, and criminal liabilities of the many similarly situated adult
citizens who knowingly or unknowingly are subject to the Handgun Ban. The
relief sought in this action is declaratory and injunctive in nature, and the action
involves matters of substantial public interest that are likely to reoccur over time
with the potential of evading judicial review. Considerations of necessity,
convenience, and justice justify the requested relief for the individual and
institutional Plaintiffs in a representative/associational capacity.

78. Plaintiffs seek a declaration that the Handgun Ban infringes upon the rights of
Plaintiffs Reese and Granich, Plaintiffs FPC, SAF, and LSA’s members and
supporters, and those similarly situated, and is unconstitutional facially and as
applied to them.

79, Plaintiffs are entitled to all reasonable litigation expenses and attorney fees
associated with the prosecution of this declaratory judgment action as it was made
necessary by Defendants’ unconstitutionaily infringing behavior.

80. Plaintiffs are presently and continuously injured by Defendants’ enforcement of
18 U.S.C. § 922(b)(1) and (c)(1) and the related regulations, policies, practices,
and customs underlying the Handgun Ban, insofar as they violate the Second

Amendment rights of Plaintiffs, and all those similarly situated, by prohibiting

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licensed dealers from conducting sales of handguns to adults aged eighteen to
twenty.

81, If not enjoined by this Court, Defendants will continue to enforce 18 U.S.C. §
922(b)C1) and (c)(1) and the related regulations, policies, practices, and customs
underlying the Handgun Ban in derogation of Plaintiffs’ constitutional rights and
of all those similarly situated. Plaintiffs and the class of individuals and entities
they represent have no plain, speedy, and adequate remedy at law. Damages are
indeterminate or unascertainabie and, in any event, would not fully redress any
harm suffered by Plaintiffs because they are unable to engage in constitutionally
protected activity due to the Handgun Ban.

82. For the foregoing reasons, Plaintiffs request declaratory and injunctive relief as
hereinafter prayed for.

COUNT II
(U.S CONST., AMEND, V)

71, The foregoing paragraphs are incorporated herein as if set forth in full.

72. Title 18, Sections 922(b)(1) and 922(c)(1) of the United States Code and Title 27,
sections 478,99(b)(1), 478,124(a), 478.96(b) of the Code of Federal Regulations
ban federally licensed firearms dealers from selling handguns and handgun
ammunition to law-abiding adults under the age of twenty-one, but do not ban the
sale of the same handguns and handgun ammunition to law-abiding adults over
the age of twenty.

73, These laws violate Plaintiffs’ and Plaintiffs’ members and supporters’ right to
equal protection of the laws guaranteed under the Due Process Clause of the Fifth

Amendment to the United States Constitution.

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74. For the foregoing reasons, Plaintiffs request declaratory and injunctive relief as

hereinafter prayed for.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs respectfully request that this Court enter a judgment in
their favor and against Defendants as follows:

A. Declare that 18 U.S.C. §§ 922(b)() and (c)(1), their derivative regulations, and all
related laws, policies, enforcement practices, and customs underlying the
Handgun Ban, as well as Defendants’ enforcement of same, violate the right to
keep and bear arms secured by the Second Amendment to the United States
Constitution;

B. Declare that 18 U.S.C. §§ 922(b)(1) and (c)(1), their derivative regulations, and all
related laws, policies, practices, and customs underlying the Handgun Ban, as
well as Defendants’ enforcement of same, violate the right to equal protection of
the laws as secured by the Due Process Clause of the Fifth Amendment to the
United States Constitution;

C. Preliminarily and permanently enjoin the Defendants, their officers, agents,
servants, employees, all persons in active concert or participation with them, and
all who have notice of the injunction, from enforcing 18 U.S.C. §§ 922(b)(1) and
(c)(1), their derivative regulations, and all related laws, policies, enforcement
practices, and customs underlying the Handgun Ban, against Plaintiffs, Plaintiffs’
members, and others similarly situated to them;

D. Award costs and attorney fees and expenses to the maximum extent permitted

under 28 U.S.C. § 2412 and any/all other applicable laws; and,
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E. Grant such other and further relief as the Court deems just and proper.

Respectfully submitted, this 5" day of November 2020.

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/s/ George J. Armbruster I
Armbruster & Associates, APLC
332 E. Farrel Road, Suite D
Lafayette, LA 70508

Phone: 337-889-551 1

Fax: 337-889-5512

Email: george@arm-assoc.com
Local Counsel

/s/ Raymond M. DiGuiseppe
Raymond M. DiGuiseppe - T.A.
THE DIGUISEPPE LAW FIRM, P.C.
4320 Southport-Supply Road, Suite
300

Southport, NC 28461

Phone: 910-713-8804

Fax: 910-672-7705

Email: law.rmd@gmail.com

App. for Pro Hac Vice Forthcoming

/s/ Adam Kraut

Adam Kraut

FIREARMS POLICY COALITION

1215 K Street, 17th Floor
Sacramento, CA 95814

Phone: (916) 476-2342

Email: akraut@fpclaw.org

App. for Pro Hac Vice Forthcoming

/si Joseph Greenlee
Joseph Greenlee

FIREARMS POLICY COALITION

1215 K Street, 17th Floor
Sacramento, CA 95814

Phone: (916) 438-9237

Email: jgr@fpelaw.org

App. for Pro Hae Vice Forthcoming
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/s/ John W. Dillon

John W. Dillon

DILLON LAW GROUP APC

2647 Gateway Road

Carlsbad, CA 92009

Phone: (760) 642-7150

Fax: (760) 642-7151

Email: jdillon@édillonlawgp.com
App. for Pro Hac Vice Forthcoming

Attorneys for Plaintiffs
